
PER CURIAM.
Jack Lester Watts appeals the sentences imposed upon the granting of his motion for postconvietion relief. Of the three issues he raises, we find merit only in his contention that the trial court erred in running his habitual offender sentences consecutively because the offenses for which the sentences were imposed were part of a single criminal episode. See Hale v. State, 630 So.2d 521 (Fla.1993). The State concedes this error.
Accordingly, we remand this case with directions that Watts’ sentences be amended to reflect that all terms of imprisonment are to be served concurrently.
Remanded for correction of sentences.
FULMER, A.C.J., and WHATLEY and NORTHCUTT, JJ., Concur.
